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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
              v.                                  )        Case No. 05-20017
                                                  )
FIDENCIO VERDIN-GARCIA,                           )
                                                  )
                      Defendant.                  )
                                                  )



                           MEMORANDUM AND ORDER

       Fidencio Verdin-Garcia has filed a motion asking this court to compel his former

attorney Theodore J. Lickteig to “promptly release” his case file (Doc. 286). Mr.

Verdin- Garcia attached to the motion a letter he wrote Mr. Lickteig, requesting his

entire case file, including:

       Grand Jury Transcripts, Transcripts of ‘all’ hearings in my presence and
       in my absence, Discovery, All exhibits, Evidence Physical or Non
       Physical, Memorandum, E-mails, Everything directly or remotely related
       to my case, back up software to maintain my case files, records, etc. . . .
       a copy of the PACER docket to my case, and agreements by CI’s and the
       government–Giglio and any potential Brady material.

(Doc. 286, Ex. A.)

       Mr. Lickteig was appointed by this court to represent Mr. Verdin-Garcia (Doc.

48), and that relationship continued until October 2008, when the United States Supreme
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Court denied Mr. Verdin-Garcia’s petition for a writ of certiorari. Upon order of this

court, Mr. Lickteig filed a response to Mr. Verdin-Garcia’s request. (Doc. 288).

       Kansas Rules of Professional Conduct require that an attorney “surrender[] papers

and property to which the client is entitled” upon termination of the attorney-client

relationship. Kan. R. Prof. Conduct 1.16(d). Mr. Lickteig attached to his response

letters he sent to Mr. Verdin-Garcia throughout his representation providing various

documents including: transcripts of his court proceedings, including pre-trial hearings,

the trial, and sentencing hearings; the opening brief and reply brief filed before the Tenth

Circuit; the Tenth Circuit’s opinion; a petition for rehearing filed in the Tenth Circuit;

and the notice from the Supreme Court that cert was denied. Mr. Lickteig also noted that

he returned via certified mail Mr. Verdin-Garcia’s property, including birth certificates,

a voter card, and a transcript. As to these items, Mr. Lickteig has fulfilled his

responsibility.

       Beyond those items, however, it is incumbent upon Mr. Lickteig to transfer to Mr.

Verdin-Garcia any documents in his possession related to Mr. Verdin-Garcia’s case, with

some notable exceptions outlined below. Thus, Mr. Verdin-Garcia is entitled to exhibits

that were introduced at trial, including the translations of wiretap recordings used as

demonstrative aids.     Consistent with the “Order Authorizing the Disclosure of

Intercepted Wire Communication,” Mr. Verdin-Garcia would also be entitled to the

translations of conversations to which is a party. Additionally, Mr. Verdin-Garcia would

be entitled to any documents filed in his case to the extent that Mr. Lickteig has paper

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copies of those documents in his files. Mr. Lickteig has no duty, however, to obtain

copies of documents from the court’s files to provide to Mr. Verdin-Garcia.

      Mr. Verdin-Garcia requested copies of all discovery, CI information, Brady and

Giglio materials, and memoranda and emails about his case.          Mr. Lickteig has

represented to the court that those items were shared with him or loaned to him by the

Government as part of an express agreement that they would not be turned over to Mr.

Verdin-Garcia.    Acting as Mr. Verdin-Garcia’s agent in negotiations with the

Government, Mr. Lickteig agreed to those terms, and the court will uphold those

agreements. These documents will not be furnished to Mr. Verdin-Garcia.

      Mr. Verdin-Garcia requested transcripts from the grand jury proceedings, but

according to Mr. Lickteig, he does not have any. Additionally, Mr. Lickteig does not

need to provide “back up software” to Mr. Verdin-Garcia; he need only surrender the

papers concerning Mr. Verdin-Garcia’s case.

      Mr. Lickteig has requested that the court require Mr. Verdin-Garcia to prepay for

photocopies of any documents.      Mr. Verdin-Garcia, however, is entitled to the

documents in Mr. Lickteig’s possession, as noted above. Should Mr. Lickteig wish to

make photocopies for his own records, he may do so at his own expense.



      IT IS THEREFORE ORDERED BY THE COURT that Mr. Verdin-Garcia’s

motion for relief (doc. 286) is granted as described above. The documents shall be



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delivered to the Clerk of the United States District Court in Kansas City, no later than

May 7, 2009, for prompt mailing by the Clerk to Mr. Verdin-Garcia.


       IT IS SO ORDERED this 27th day of April, 2009.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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